Case:24-20266-MJK Doc#:1 Filed:07/24/24 Entered:07/24/24 145 cf 2us saAeGntdy Chub A BYK

SILT CAM al omni Kolmert-hcoram Comce (stall aanyieleL mor-lt—e

United States Bankruptcy Court for the:

Southern District of Georgia

Case number (if known):

Chapter you are filing under:
Chapter 7

QO Chapter 11

C) Chapter 12

O) Chapter 13

Official Form 101

9024 JUL 24 px2:46

O) Check if this is an
amended filing

Voluntary Petition for Individuals Filing for Bankruptcy 06/24

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 7 and the other as Debtor 2. The

same person must be Debtor 7 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number

(if known). Answer every question.

Eo identify Yourself

_ About Debtor 2 (Spouse Only in a Joint Case): -

“About Debtor 4:
1. Your full name

JOHNNIE
Write the name thatis on your Firstname " ‘Firstname
government-issued picture
identification (for example, MARENE -
your driver’s license or Middle name Middle name
passport). THOMAS .

Last name Last name

Bring your picture
identification to your meeting
with the trustee.

Suffix (Sr., Jr, I, ily

Suffix (Sr., Jr., fH, 1)

2. All other names you

have used in the last 8 First name First name
years
. Middle name “: Middle name
Include your married or
maiden names and any
Last
assumed, trade names and Last name ast name
doing business as names. erat
First name Irst name
Do NOT list the name of any
separate legal entity such as . =
a corporation, partnership, or Middle name Middle name
LLC that is not filing this
petition. Last name ’. Last name

Business name (if applicable)

Business name (if applicable)

Business name (if applicable)

Business name (if applicable)

. Only the last 4 digits of
your Social Security XXX XK
number or federal OR
individual Taxpayer
9xx - x -

Identification number
(ITIN)

XXX — XX —
OR
9xx - xx -

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy page 1

Case:24-20266-MJK Doc#:1 Filed:07/24/24

pebtor1 YOHNNIE MARENE THOMAS

First Namo: Middis Nama

Last Name

Entered:07/24/24 14:55:45 Page:2 of 10

Case number (if known),

4. Your Employer
Identification Number
(EIN), if any.

_ About Debtor 4: Re

EIN”

EN

a ‘About Debtor 2 (Spouse Only In a Joint Case):

EIN

5. Where you live

494 VILLAGE DRIVE

Number Street

WOODBINE GA 31569
City State ZIP Code
CAMDEN

County

If your mailing address is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address.

1601 GA HWY 40 E

If Debtor 2 tives at a different address:

Number Street

City State ZIP Code

-., County

If Debtor 2’s mailing address is different from
yours, fill it in here. Note that the court will send
any notices to this mailing address.

this district to file for
bankruptcy

Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

(CJ t have another reason. Explain.
(See 28 U.S.C. § 1408.)

Number Street Number Street

SUITE M235

P.O. Box P.O. Box

KINGSLAND GA 31548 :

City State ZIPCode City State ZIP Code
6. Why you are choosing Check one: Check one:

= CD Over the last 180 days before filing this petition,

| have lived in this district longer than in any
other district.

_. QO) Ihave another reason. Explain.

(See 28 U.S.C. § 1408.)

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy page 2

Debtor 1

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JOHNNIE MARENE THOMAS Case number (ir inown)

First Name Middle Name

Last Name

Ea Tell the Court About Your Bankruptcy Case

7. The chapter of the Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
Bankruptcy Code you for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
are choosing to file
under 4 Chapter 7
©) Chapter 11
() Chapter 12
OQ) Chapter 13
8. How you will paythe fee (1) | will pay the entire fee when | file my petition. Please check with the clerk's office in your
local court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier's check, or money order. If your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address.
4 | need to pay the fee in installments. If you choose this option, sign and attach the
Application for individuals to Pay The Filing Fee in Installments (Official Form 103A).
L) | request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). If you choose this option, you must fill out the Application to Have the
Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.
9, Have you filed for W No
bankruptcy within the
last 8 years? OQ Yes. District When Case number
MM/ DD /YYYY
District When Case number
MM/ DD /YYYY
District When Case number
MM/ DD /YYYY
_ 10, Are any bankruptcy @ No
: gases pending or being
filed by a spouse who is OQ yes. Debtor Relationship to you
not filing this case with District When Case number, if known,
you, or by a business MM/DD /YYYY
partner, or by an
affiliate?
Debtor Relationship to you
District When Case number, if known,
MM /OD/YYYY

P44.

Do you rent your
residence?

Official Form 101

WNo. Gotoline 12.
C} Yes. Has your landlord obtained an eviction judgment against you?

CI No. Go to line 12.

LD Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
part of this bankruptcy petition.

Voluntary Petition for Individuals Filing for Bankruptcy page 3
Debtor 1

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JOHNNIE MARENE THOMAS Case number (irknowe

First Nema Middle Name

Last Nams

Report About Any Businesses You Own as a Sole Proprietor

12.

Are you a sole proprietor
of any full- or part-time
business?

A sole proprietorship is a
business you operate as an
individual, and is not a
separate legal entity such as
a corpcration, partnership, or
LLC.

If you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition.

di No. Go to Part 4.

Q] Yes. Name and location of business

Name of business, if any

Number Street

City State ZIP Code

Check the appropriate box to describe your business:

() Health Care Business (as defined in 11 U.S.C. § 101(27A))
U) Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
CQ) Stockbroker (as defined in 11 U.S.C. § 101(53A))

QO Commodity Broker (as defined in 11 U.S.C. § 101(6))

C) None of the above

© 43,

Are you filing under
Chapter 11 of the
Bankruptcy Code, and
are you a smail business
debtor?

For a definition of small
business debfor, see

11 U.S.C. § 101(51D).

If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
can set appropriate deadiines. If you indicate that you are a small business debtor, you must attach your
most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or
if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

No. {am not filing under Chapter 17.
CU No. lam filing under Chapter 11, but | am NOT a small business debtor according fo the definition in
the Bankruptcy Code.

Cl Yes. 1am filing under Chapter 11, | am a small business debtor according to the definition in the
Bankruptcy Cede, and | do not choose to proceed under Subchapter V of Chapter 11.

QO) Yes. | am filing under Chapter 11, | am a small business debtor according to the definition in the
Bankruptcy Code, and | choose to preceed under Subchapter V of Chapter 11.

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy page 4
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Debtor 1 JOHNNIE MARENE THOMAS Case number (if known)

First Name Middle Name Last Name

a Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any i.
property that poses or is

alleged to pose a threat C) Yes. What is the hazard?

of imminent and
identifiable hazard to

public health or safety?
Or do you own any

property that needs If immediate attention is needed, why is it needed?

immediate attention?
For example, do you own

perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?
Where is the property?

Number Street

City State ZIP Code

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 5
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Debtor 1

First Name:

ad = Your Efforts to Receive a Briefing About Credit Counseling

JOHNNIE MARENE HOMAS

Middle Name.

Name

Case number {if known)

18, Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices. If you
cannot do so, you are net
eligible to file.

If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Official Form 101

“About Debtor 1

You must check one:

Wf I received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

UL I received a briefing from an approved credit
counseling agency within the 180 days before |

filed this bankruptcy petition, but |do nothavea -

certificate of completion.
Within 14 days after you file this bankruptcy petition,

you MUST file a copy of the certificate and payment ©

plan, if any.

L] | certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. if you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

CJ tam not required to receive a briefing about
credit counseling because of:

(J Incapacity. { have a mental illness or a mental
deficiency that makes me
* incapable of realizing or making
rational decisions about finances.
(3 Disability. My physical disability causes me

to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

C) Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Voluntary Petition for Individuals Filing for Bankruptcy

You must check one:

C) | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and I received a
certificate of completion.

Attach a copy of the certificate and the payment ,
plan, if any, that you developed with the agency.

() I received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

(CO | certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
Still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

Cd 1am not required to receive a briefing about
credit counseling because of:

QO Incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

C) Disability. My physical disability causes me

to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

C) Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

page 6
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Debtor 1

JOHNNIE MARENE THOMAS

Case number {if known),

First Namo

Middle Nama

Last Nama

Co Answer These Questions for Reporting Purposes

_ 16. What kind of debts do
you have?

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a personal, family, or household purpose.”

LJ No. Go to line 16b.
© Yes. Go to line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

No. Go to line 16c.
QO) Yes. Go to line 17.

16c. State the type of debts you owe that are not consumer debts or business debts.

47. Are you filing under
Chapter 7?

Do you estimate that after
any exempt property is

LI No.

Yes. | am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
administrative expenses are paid that funds will be available to distribute to unsecured creditors?

| am not filing under Chapter 7. Go to line 18.

excluded and W No
administrative expenses

are paid that funds will be QO) Yes
available for distribution

to unsecured creditors?

48. How manycreditorsdo (4 1-49 CQ} 1,000-5,000 CI 25,001-50,000
you estimate that you 0) 50-s9 CI 5,001-10,000 C) 50,001-100,000
owe? CQ) 100-199 CQ) 10,001-25,000 C2 More than 100,000

C) 200-899

19. How much do you
estimate your assets to
be worth?

$0-$50,000

C) $50,001-$100,c00
Q) $100,001-$500,c00
C) $500,001-$1 million

Q) $1,000,001-$10 million

QC) $10,000,001-$50 million
C2) $50,000,001-$100 million
QC) $100,000,001-$500 million

CI $500,000,001-$1 billion

{) $1,000,000,001-$10 billion
Q) $10,000,000,001-$50 billion
() More than $50 billion

20. How much do you
estimate your liabilities
to be?

Q) $0-$50,000
 $50,001-$100,000
C2) $100,001-$500,000
C) $500,001-$1 mittion

C2) $1,000,001-$10 million

CY $10,000,001-$50 million
(C3 $50,000,001-$100 million
C2 $100,000,001-$500 million

CI $500,000,001-$1 billion

C) $1,000,000,001-$10 billion
C2 $10,000,000,001-$50 billion
QO] More than $50 billion

_ For you

| have examined this petition, and | declare under penalty of perjury that the information provided is true and
correct.

If | have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13
of title 11, United States Code. | understand the relief available under each chapter, and | choose to proceed
under Chapter 7.

If no attorney represents me and | did not pay or agree to pay someone who is not an attorney to help me fill out
ec-aqd read the notice required by 11 U.S.C. § 342(0).

Executed on 97/24/2024
MM / DD /YYYY

Executed on
MM / DD

LYYYY

Official Form 101

Voluntary Petition for Individuals Fiting for Bankruptcy page 7
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Debtor 1 JOHNNIE MARENE THOMAS Case number (i known),

First Name Middip Namo Last Namo

i ‘ |, the attorney for the debtor(s) named in this petition, declare that | have informed the debtor(s) about eligibility
| For your attorney, if you are  t proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief

: represented by one avatlable under each chapter for which the person is eligible. | also certify that | have delivered to the debter(s)
: the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b}(4)(D) applies, certify that | have no

_ if you are not represented knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.

. by an attorney, you do not

: need to file this page. x
: Date
Signature of Attorney for Debtor MM / OD /YYYY
Printed name
Firm name
Number Street
City State ZIP Code
Contact phone Email address
Bar number State

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 8
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Debtor 1 JOHNN IE MARENE THOMAS Case number {if known),
Firet Nama Middle Name Last Nama
For you if you are filing this The law allows you, as an individual, to represent yourself in bankruptcy court, but you
, bankruptcy without an should understand that many people find it extremely difficult to represent
attorney themselves successfully. Because bankruptcy has long-term financial and legal

consequences, you are strongly urged to hire a qualified attorney.

: If you are represented by
‘ an attorney, you do not To be successful, you must correctly file and handle your bankruptcy case. The rules are very

- need to file this page. technical, and a mistake or inaction may affect your rights. For example, your case may be

: dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. If that happens, you could lose your right to file another
case, of you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the
court. Even if yau plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankruptcy fraud is a serious crime; you could be.fined and imprisoned.

{f you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

CO) No

id Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

) No

id Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
J No

CI Yes. Name of Person .
Attach Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Official Form 119).

_——
ignature of Debtor 4 SS gee of Debtor 2

Date 07/24/2024 Date
MM/OD /YYYY MM/ DD /YYYY
Contact phone Contact phone
Cell phone (404) 981-1987 Cell phone
Email address Email address

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 9
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MATRIX
Chapter 7
Law Office of Vincent D. Sowerby, PC: Alvin Matthew Thomas
5800 Eagle Drive C/O Law Office of Vincent D. Sowerby,
Fort Pierce, Florida 34951 PC:
5800 Eagle Drive
Fort Pierce, Florida 34951
Chief Judge Stephen G. Scarlett, Sr.: Beth Soles

St. Simons Island, GA 31522

Glynn County Courthouse, Camden County Commissioners
701 “H” Street, Ste. 203 PO BOX 698

Brunswick, GA 31520 Woodbine, GA 31569-0698

Ms. Joy Lynn Turner, Clerk of Superior | Glynn County Tax Commissioner
Camden County GA | 1725 Reynolds St.,

P.O. Box 550 Suite 100

Woodbine, GA 31569 Brunswick, GA 31520

John S Myers, Atty Macon-Bibb County Tax Commissioner
P.O. Box 99 188 Third Street.

Woodbine, GA 31569 Macon, GA 31201

Probate Judge Robert Sweatt, Jr. Stephen V. Kinney

Camden County GA 1815 Osborne Road

200 East 4th Street, St. Marys, GA 31558

Woodbine, GA 31569

Ms. Penny Miller, Probate Clerk Willingham Loan & Realty Co.
Camden County GA Probate 842 Mulberry St

200 East 4th Street Macon, GA 31201

Woodbine, GA 31569

Estate of Irene Derry Thomas Above The Sea Essentials Investors, Inc.
1601 GA HWY 40 E 1601 GA Hwy 40 E

STE M235 STE M235

Kingsland, GA 31548 Kingsland, GA 31548

McQUIGG, SMITH & CORRY, LLC William R. Ashe, Atty

504 Beachview Drive PO Box 607

Suite 3-D Woodbine, GA 31569

Nationstar Mortgage LLC
8950 Cypress Waters Blvd
Dallas, TX 75063

